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                 EXHIBIT 4
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               From:      "Fiona O'Donnell" <fiona@google.com>
               To:        Melissa Lawrence <hrmelissa@google.com>
               Sent:      Fri, 1 Jun 2018 09:41 :49 -0700
               Subject:   Re: Update from
               Cc:        Becky Bucich <beckybucich@google.com>

                 Thanks Melissa. I know Tariq had committed to interviewing Ulku again for the vertical lead role but
               I don't know if it has happened yet. I'll check with him on it during our next hiring sync.

               On Fri, Jun I, 2018 at 8:42 AM Melissa Lawrence <hrmclissa@ 0 ooglc.com> wrote:

                 My take is that up until this mile of her negotiation around comp, people were very
                 enthusiastic. The fact that she is quibbling over 70k in a very generous package, declined to
                 Will and I and then escalated to Diane was a turn off.

               Between us, Will has raised that Ulku Rowe who would be reporting to the Financial Services
                 lead is far more credentialed in financial services (whole career) versus a couple of years for
                       . Just an fyi!

               Melissa

               On Fri, Jun I, 2018 at 8:26 AM, Fiona O'Donnell <fiona(w 0 oogle.com> wrote:

                  Thanks for the heads-up. Agree, that comp will likely still be an issue and also concerning
                  that folks aren't convinced she'd be a good for googlc hire.

               On Fri, Jun 1, 2018 at 6: 12 AM Becky Bucich <beckybucich(al 0 00 le.com> wrote:

                   FYI only- Fiona, we had a candidate to lead OCTO for EMEA (L9 offer, from                    )
                   who declined last week (comp was the gap although we had a very strong offer and
                   stretched to where we felt most comfortable). Bit surprised to see Diane sharing she wants
                   to consider for Finance vertical as I would think we'd run into the same issue. But let's see
                   where this heads. Just cc'ing Melissa as she was actively involved on recruitment of
                   for Will/Brian's team.
                   -Becky

               ---------- Forwarded message ----------
               From: Rachel Quirk <rachelquirk(dJ 0 oogle.com>
               Date: Wed, May 30, 2018 at 2:55 PM
               Subject: Re: Update from
               To: Becky Bucich <beckybucich(cugoogle.com>
               Cc: Dave Beuerlein <dbeuerlein(fDgoogle.com>, Gaurav Munjal <gmunjal(cigoogle.com>, Kate
                    Butler <katebutler@goo 0 le.com>


                   Quick update: Diane responded to say "I would like to introduce her to Tariq as a potential lead for
                   our Finance Vertical, she is incredibly impressive". I'll follow up on this with Tariq and keep you posted in
                   case anything materializes.
                   Rachel




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                    On 29 May 2018 at 23: 15, Becky Bucich <beckybucich(i1)goo,.,,le.com> wrote:

                     Appreciate the update Rachel- thanks for forwarding along, Dave.

               On Tue, May 29, 2018 at 10:50 AM, Dave Beuerlein <dbeucrlein(Zugooglc.com> wrote:

                      + Becky
                      Thanks for sharing, I'm adding Becky in as well just to make sure we all stay in the loop.

               Dave

               Dave Beuerlein I Director. Leadership Staffing I dbeuerlein@google.com I 650.214.1007 I Google Inc .




               On Tue, May 29, 2018 at 10:20 AM Rachel Quirk <rachelquirk(dlgoogle.com> wrote:

                       Hi Dave, sharing below re              . I agree with Will completely,       last
                       response to escalate to Diane Greene and Brian Stevens is not Googley. Will let you
                       know if/when they respond.
                       Rachel

               ---------- Forwarded message ----------
               From: Will Grannis <w 0 rannis(Zu 0 00 0 lc.com>
               Date: 29 May 2018 at 17:53
               Subject: Fwd: Update from
               To: Brian Stevens <stcvensb(a;goo 0 le.com>, Diane Greene <dianebgreene(d) 0 oogle.com>,
                       Rachel Quirk <rachelquirk(al 0 oogle.com>, Melissa Lawrence <hrmelissa(d)goo 0 lc.com>


               -     , +Rachel and Melissa

               Brian and Diane,

               tl;dr I don't recommend you intervene on behalf of OCTO. If there's a more senior role available outside of
                        engineering, then that may be worth considering (we can handle the cross referral if you agree).

               background: we have been negotiating comp with            for the past four weeks. Our final offer, which is well outside
                      guideline was delivered to         last wk, and she declined it immediately, thanking us for the opportunity.
                      When I accepted her decline, she immediately escalated to the both of you. I don't recommend we move any
                      more on comp, and her attempt to leverage a direct appeal to the both of you after she immediately and tersely
                      declined our offer doesn't sit well with me.

               next steps: Unless I hear from you both, I will assume no further action required and we will continue our search for
                        outstanding EMEA OCTO candidates. We have two very accomplished engineers in the pipeline behind                   ,
                        so this isn't a complete reset of progress, and the team has been spending a lot of time in region to cover big
                       brands like                                                     , etc.




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               Will



               On Sat, May 26, 2018 at 4:30 AM                                 - PRIVACY wrote:

                       Hi Diane and Brian,
                       I hope this message finds you well. The conversations with you in the past few weeks
                       truly inspired me. Will Grannis and you convinced me of your vision and I can see
                       contributing to it as a Googler for a long time. As you've indicated, there is so much I
                       can offer, with my data analytics, leadership, and business-to-business experience
                       globally.

                       However, we have not quite been able to make the financials work. I believe the gap is
                       bridgeable and have shared specific ideas with HR and Will.

                       Regardless of where this goes, I welcome your staying in touch and remain a fan and
                       friend,

                       On Fri, May 11, 2018 at 5:09 PM,                     REDACTED - PRIVACY wrote:


                        Dear Diane,
                        It was an honor to meet you. Thank you for the time and insights you shared. Happy to
                        speak with Tariq and have already found Bogomil Balkansky.

                        I hope to be of help to you and Google Cloud - here is to winning the cloud wars!




                                 REDACTED- PRIVACY




                                            Rachel Quirk
                                            Leadership Recruiter
                                            +44 7787 527979




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                                      Rachel Quirk
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                                      +44 7787 527979
                                      careers.google.com
                                      [SHZl               rgJ




                           Melissa Lawrence
                           hnnelissa@google.com
                           Director, People Operations
                           Google Cloud Platform, Cloud Programs and OCTO


               Got questions?
               Information for YOU at go/MyGoogle or peopleops-help@google.com




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